Case 1:19-cv-22601-DPG Document 16 Entered on FLSD Docket 08/07/2019 Page 1 of 4



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                CASE NO. 1:19-CV-22601-DPG

  ROBERTO ORTIZ,

                Plaintiff,

  v.

  EXPERIAN INFORMATION SOLUTIONS,
  INC., TRANSUNION LLC, and AMERICAN
  HONDA FINANCE CORPORATION,

                Defendants.

              DEFENDANT TRANS UNION LLC’S CERTIFICATE OF
        INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT

         COMES NOW, Defendant Trans Union LLC (‘Trans Union”), and hereby discloses the

  following:

  1.     The name of each person, attorney, association of persons, firm, law firm,
         partnership, and corporation that has or may have an interest in the outcome of this
         action — including subsidiaries, conglomerates, affiliates, parent corporations,
         publicly-traded companies that own 10% or more of a party’s stock, and all other
         identifiable legal entities related to any party in the case:
         A.    Roberto Ortiz; Plaintiff

         B.    Joey D. Gonzalez Ramos of Joey Gonzalez, Attorney, P.A. and Leo Bueno of Leo
               Bueno, Attorney, PLLC; Counsel for Plaintiff

         C.    Experian Information Solutions, Inc.; Defendant

         D.    Michael Alexander Maugans of Jones Day; Counsel for Experian Information
               Solutions, Inc.

         E.    American Honda Finance Corporation; Defendant

         F     Christopher Brent Wardrop of Quintairos, Wood & Boyer, PA; Counsel for
               American Honda Finance Corporation

         G.    Trans Union LLC, Defendant
Case 1:19-cv-22601-DPG Document 16 Entered on FLSD Docket 08/07/2019 Page 2 of 4



         H.      Christopher E. Knight, Alexandra L. Tifford, and Andrew G. Tuttle of Fowler
                 White Burnett, PA.; Counsel for Trans Union LLC

         I.      Parent Companies: Trans Union LLC is a wholly owned subsidiary of
                 TransUnion Intermediate Holdings, Inc. TransUnion Intermediate Holdings, Inc.
                 is wholly owned by TransUnion. TransUnion is a publicly traded entity.
                 Investment funds affiliated with T. Rowe Price Group, Inc., a publicly-traded
                 entity, own more than 10% of TransUnion’s stock. No public company directly
                 owns 10% or more of the ownership in Trans Union LLC.

  2.     The name of every other entity whose publicly-traded stock, equity, or debt may be
         substantially affected by the outcome of the proceedings:
               None known at this time.

  3.     The name of every other entity which is likely to be an active participant in the
         proceedings, including the debtor and members of the creditors’ committee (or
         twenty largest unsecured creditors) in bankruptcy cases:
               None known at this time.

  4.     The name of each victim (individual or corporate) of civil and criminal conduct
         alleged to be wrongful, including every person who may be entitled to restitution:
         Other than the parties to this lawsuit, Trans Union is unaware of any alleged victims.


         I hereby certify that, except as disclosed above, I am unaware of any actual or potential

  conflict of interest involving the district judge and magistrate judge assigned to this case, and

  will immediately notify the Court in writing on learning of any such conflict.




                                                 -2-
Case 1:19-cv-22601-DPG Document 16 Entered on FLSD Docket 08/07/2019 Page 3 of 4



                                     Respectfully submitted,


                                     /s/ Andrew G. Tuttle
                                     Christopher E. Knight
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                                     Alexandra L. Tifford
                                     Florida Bar No. 178624
                                     Andrew G. Tuttle
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                                     COUNSEL FOR TRANS UNION LLC




                                      -3-
Case 1:19-cv-22601-DPG Document 16 Entered on FLSD Docket 08/07/2019 Page 4 of 4



                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 7, 2019, I electronically filed the foregoing with the Clerk

  of the Court using the CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel via transmission of Notices of Electronic Filing generated by CM/ECF.

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   - and -                                             Corporation
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                                                       Counsel for Experian Information Solutions,
                                                       Inc.



                                               /s/ Andrew G. Tuttle
                                               ANDREW G. TUTTLE




                                                 -4-
